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                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
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                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                            Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                                  Adversary Case No. 21-01167-abl
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,
                                                                                                                      NOTICE OF DEPOSITION OF
                                                      17   v.                                                        TECUMSEH-INFINITY MEDICAL
                                                                                                                        RECEIVABLES FUND, LP
                                                      18   TECUMSEH–INFINITY MEDICAL                                  PURSUANT TO FRCP 30(B)(6)
                                                           RECEIVABLES FUND, LP,
                                                      19
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Plaintiff,
                                                      23
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                      26   CHAPTER 7 TRUSTEE
                                                      27                        Counter-Defendants.
                                                      28


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                                                       1   TO ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:
                                                       2           PLEASE TAKE NOTICE that on September 28, 2022 at 9:00 a.m. PT, Plaintiff HASelect-
                                                       3   Medical Receivables Litigation Finance Fund International SP (“HASelect”) will take the oral
                                                       4   deposition of Defendant Tecumseh-Infinity Medical Receivables Fund, LP (“Tecumseh”) pursuant
                                                       5   to FRCP 30(b)(6). In accordance with its obligations under FRCP 30(b)(6), Tecumseh shall produce
                                                       6   a representative with knowledge and ability to testify regarding the topics for examination outlined
                                                       7   below. The deposition will be taken at the offices of Shea Larsen at 1731 Village Center Circle,
                                                       8   Suite 150, Las Vegas, Nevada 89134 before a notary public or other officer authorized to administer
                                                       9   oaths. The deposition will be recorded by stenographic means and oral examination will continue
                                                      10   from day-to-day until completed.
                                                      11                                    TOPICS FOR EXAMINATION
              1731 Village Center Circle, Suite 150




                                                      12           1.      The formation and history of Tecumseh;
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13           2.      Tecumseh’s business dealings, including but not limited to, its current and past
                        (702) 471-7432




                                                      14   company structure, day-to-day operations, products, and services offered for sale, and competitors;
                                                      15           3.      Tecumseh’s relationship with Debtor Infinity Capital Management, Inc. (“Infinity”),
                                                      16   including but not limited to, Tecumseh and its principal’s relationship with Infinity’s principals;
                                                      17           4.      The relationship between Tecumseh’s principals and HASelect;
                                                      18           5.      Tecumseh’s knowledge of HASelect, its Loan and related documents with Infinity,
                                                      19   and HASelect’s security interest over all of Infinity’s personal property, including but not limited
                                                      20   to, accounts receivable;
                                                      21           6.      Tecumseh’s purchase of accounts receivable, including but not limited to, the
                                                      22   Disputed Receivables as referenced in the pleadings filed in this matter;
                                                      23           7.      All communications and documents between Tecumseh and Infinity, including but
                                                      24   not limited to, communications relating to HASelect’s Collateral (as defined in the pleadings filed
                                                      25   in this matter as well as the MLA) and the Sub-Advisory Agreement as referenced in the pleadings
                                                      26   filed in this matter;
                                                      27           8.      Tecumseh’s payments regarding the Disputed Receivables, including but not limited
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                                                       1   to, Tecumseh’s payments to Infinity to purchase the same;
                                                       2          9.      The removal of electronic stamps which identified Infinity’s existing accounts as
                                                       3   HASelect’s Collateral;
                                                       4          10.     All communications and documents between Tecumseh and HASelect;
                                                       5          11.     Tecumseh’s business dealings, communications, or documents with Infinity Health
                                                       6   Connections and Infinity Health Solutions;
                                                       7          12.     All communications and documents between Tecumseh and medical providers from
                                                       8   whom Tecumseh claims to have purchased accounts receivable;
                                                       9          13.     All communications and documents in any way referencing a resulting trust,
                                                      10   constructive trust, or equitable lien relationship between Tecumseh and Infinity;
                                                      11          14.     Tecumseh’s involvement and knowledge regarding Infinity’s bankruptcy planning
              1731 Village Center Circle, Suite 150




                                                      12   and filing;
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13          15.     Infinity’s ownership over the Disputed Accounts, as referenced in the pleadings filed
                        (702) 471-7432




                                                      14   in this matter; and
                                                      15          16.     All bank accounts used in Tecumseh and Infinity’s business dealings and the source
                                                      16   of all monies contained therein.
                                                      17          Dated this 9th day of September 2022.
                                                                                                             SHEA LARSEN
                                                      18
                                                                                                             /s/ Bart K. Larsen, Esq.
                                                      19                                                     BART K. LARSEN, ESQ.
                                                                                                             Nevada Bar No. 8538
                                                      20                                                     KYLE M. WYANT, ESQ.
                                                                                                             Nevada Bar No. 14652
                                                      21                                                     1731 Village Center Circle, Suite 150
                                                                                                             Las Vegas, Nevada 89134
                                                      22                                                     Attorneys for HASelect-Medical Receivables
                                                                                                             Litigation Finance Fund International SP
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                                                                                       CERTIFICATE OF SERVICE
                                                       1
                                                               1.    On September 9, 2022, I served the following document(s): NOTICE OF
                                                       2             DEPOSITION OF TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                                                     FUND, LP PURSUANT TO FRCP 30(B)(6)
                                                       3
                                                               2.    I served the above document(s) by the following means to the persons as listed
                                                       4             below:
                                                       5             ☒      a.      ECF System:
                                                       6             CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                                     clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       7
                                                                     GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                       8             RECEIVABLES FUND, LP
                                                                     ggordon@gtg.legal, bknotices@gtg.legal
                                                       9
                                                                     MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                      10             RECEIVABLES FUND, LP
                                                                     michael.napoli@akerman.com,
                                                      11             cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
              1731 Village Center Circle, Suite 150




                                                                     @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                     ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                      13
                        (702) 471-7432




                                                                     RECEIVABLES FUND, LP
                                                                     ariel.stern@akerman.com, akermanlas@akerman.com
                                                      14
                                                                     ☐      b.      United States mail, postage fully prepaid:
                                                      15
                                                                     ☐      c.      Personal Service:
                                                      16
                                                                     I personally delivered the document(s) to the persons at these addresses:
                                                      17
                                                                                     ☐       For a party represented by an attorney, delivery was made by
                                                      18             handing the document(s) at the attorney’s office with a clerk or other person in
                                                                     charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      19             in the office.
                                                      20                             ☐       For a party, delivery was made by handling the document(s)
                                                                     to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                      21             place of abode with someone of suitable age and discretion residing there.
                                                      22             ☐       d.      By direct email (as opposed to through the ECF System):
                                                                     Based upon the written agreement of the parties to accept service by email or a
                                                      23             court order, I caused the document(s) to be sent to the persons at the email
                                                                     addresses listed below. I did not receive, within a reasonable time after the
                                                      24             transmission, any electronic message or other indication that the transmission was
                                                                     unsuccessful.
                                                      25
                                                                     ☐      e.      By fax transmission:
                                                      26
                                                                     Based upon the written agreement of the parties to accept service by fax
                                                      27             transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                     numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      28


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                                                                     of the record of the fax transmission is attached.
                                                       1
                                                                     ☐      f.      By messenger:
                                                       2
                                                                     I served the document(s) by placing them in an envelope or package addressed to
                                                       3             the persons at the addresses listed below and providing them to a messenger for
                                                                     service.
                                                       4
                                                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       5
                                                                     Dated: September 9, 2022.
                                                       6
                                                                                                    By: /s/ Bart K. Larsen, Esq,
                                                       7

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              1731 Village Center Circle, Suite 150




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                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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